
52 N.Y.2d 927 (1981)
The People of the State of New York, Respondent,
v.
Belinda Cunningham, Appellant.
Court of Appeals of the State of New York.
Argued January 5, 1981.
Decided February 10, 1981.
Robert A. Goldschlag and Jack S. Hoffinger for appellant.
Robert M. Morgenthau, District Attorney (Jerrold L. Neugarten, Robert M. Pitler and William J. Comiskey of counsel), for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed. In this case, in which the Appellate Division affirmed the findings made by the suppression court, we cannot say as a matter of law that probable cause to enter the apartment and to conduct a search was not established.
